                              Case 21-10214       Doc 134    Filed 10/17/22      Page 1 of 1
Entered: October 17th, 2022
Signed: October 14th, 2022

SO ORDERED




                               IN THE UNITED STATES BANKRUPTCY COURT
                                    FOR THE DISTRICT OF MARYLAND
                                              at Baltimore

                                    In re:    Case No.: 21-10214-NVA           Chapter: 11

           METS, LLC
           Debtor


                                            ORDER OF DISCHARGE
                                      (CONSENSUAL PLAN CONFIRMATION)
           A consensual plan having been confirmed in this case under 11 U.S.C. § 1191(a), it is hereby

           ORDERED, that a discharge under 11 U.S.C. § 1141(d)(1) is granted to METS, LLC.

           cc:     Debtor(s)
                   Attorney(s) for Debtor(s) – Brett Weiss
                   Subchapter V Trustee – Monique Almy
                   U.S. Trustee

                                                         End of Order
